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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Greenbelt Division)

In re:                                    :
                                          :
GOLD AND SILVER AUTO SALES, LLC,          :                   Case No. 20-14710
                                          :                   Chapter 11
                  Debtor.                 :
__________________________________________:

              MOTION FOR EXTENSION OF TIME TO SUBMIT DOCUMENTS
                     REQUIRED OF SMALL BUSINESS DEBTOR

         Gold and Silver Auto Sales, LLC (the “Debtor”), by and through its counsel of record,

Cohen, Baldinger & Greenfeld, LLC, respectfully represents as follows:

         1.     The Debtor’s petition under Chapter 11 was filed in the above-captioned case on

April 28, 2020.

         2.     The Debtor is a small business debtor as defined in Section 101(51D) of the

United States Bankruptcy Code, 11 U.S.C. §101 et seq. (the “Bankruptcy Code”), and the present

case is a small business case as defined in Section 101(51C) of the Bankruptcy Code.

         3.     Pursuant to Section 1116(1) of the United States Bankruptcy Code, a small

business debtor is required to file with the petition certain documents, including its most recent

Federal income tax returns, balance sheets, statement of operations, cash-flow statements, and

other documents.

         4.     The Debtor has filed with the Voluntary Petition its 2019 Federal tax return. The

Debtor requests herein an extension of time for filing its remaining small business documents

through and including May 8, 2020. The Debtor has not yet obtained the financial documents

required to be filed from its accounting professionals, but it was necessary that the Debtor file

the case promptly due to potential collection actions by creditors.
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        5.      The Debtor has requested that its accountant provide the required documents

promptly, and will seek to file the required documents by May 8, 2020.

        6.      The meeting of creditors pursuant to §341 has not yet been scheduled in the case.

The Debtor submits that granting the requested extension will not cause prejudice to any party.

        WHEREFORE, the premises considered, the Debtor prays that this Honorable Court

extend the time for filing of the aforesaid documents through and including May 8, 2020, and

that the Court grant such other and further relief as is just.

        Respectfully submitted,
                                                 COHEN, BALDINGER & GREENFELD, LLC

                                                 By: /s/ Augustus T. Curtis                 .
                                                         Augustus T. Curtis (Bar #26653)
                                                         2600 Tower Oaks Boulevard, Suite 103
                                                         Rockville, MD 20852
                                                         (301) 881-8300
                                                         Counsel for Debtor-in-Possession
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing has been served via United States mail, postage
prepaid, to the following, this 28th day of April, 2020:

       Office of the United States Trustee
       6305 Ivy Lane, Ste 600
       Greenbelt, MD 20770

Dated: April 28, 2020.
                                             /s/ Augustus T. Curtis             .
                                             Augustus T. Curtis
